                       Case 20-18036         Doc 129-1     Filed 06/01/21     Page 1 of 1

                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                       at Greenbelt
                                In re:     Case No.: 20−18036 − TJC     Chapter: 13

Mahmoud Musa Abulhawa
Debtor

                                             NOTICE OF DISMISSAL




TO: All Creditors and Interested Parties


You are hereby notified that an Order Dismissing the above case was entered on 6/1/21.

ALL PARTIES ARE HEREBY NOTIFIED, that the automatic stay imposed by 11 U.S.C. § 362(a) is terminated.

Dated: 6/1/21
                                                         Mark A. Neal, Clerk of Court
                                                         by Deputy Clerk, Laurie Arter
                                                         301−344−3327



Form ntcdsm
